                                UNITED STA TES DISTRICT COURT
                                 NORTHERN DISTRJCT OF IOWA
                                     WESTERN DIVISION
    SAMUEL DE DIOS                                NO. 5:18-CV-04015

                   Plaintiff,                           ORDER OF DISMISSAL WITHOUT
    VS.                                                   PREJUDICE OF DEFENDANT
                                                              BRAND ENERGY &
    INDEMNITY INSURANCE COMPANY OF                       INFRASTRUCTURE SERVICES
    NORTH AMERICA, BROADSPIRE
    SERVICES, INC. AND BRAND ENERGY &
    INFRASTRUCTURE SERVICES

                   Defendant.

          This matter comes before the Court on the Stipulation between the parties that the

   claims against Defendant Brand Energy & Infrastructure Services be dismissed without

   prejudice, each party to pay their own costs and attorney fees. Complete record is waived.

          The Court, being fully advised in the premises, finds that such an Order should be

   entered.

          It is therefore ORDERED, ADJUDGED AND DECREED that Brand Energy &

   Infrastructure Services is dismissed without prejudice, each party to pay their own costs and

   attorney fees, and complete record is waived.

          Dated this __ui_�ay of �       k.¼' vlz     , 2019.




                                                JUDGE,




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   Prepared by:

   Timothy A. Clausen
   Klass Law Firm, L.L.P.
   Mayfair Center, Upper Level
   4280 Sergeant Road, Suite 290
   Sioux City, Iowa 51106
   712-252-1866

   ATTORNEY FOR DEFENDANT
   BRAND ENERGY &
   INFRASTURCTURE SERVICES




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